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                          IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF VIRGINIA



    ELIZABETH SINES ET AL.                               :      Case No. 3:17-CV-72

                     Plaintiff                           :      Judge MOON


                                                         :
              -v-

    JASON KESSLER ET AL.                                 :

                                                         :
                     Defendants

    _______________________________________________________

           Memorandum in support of Matt Parrott’s Motion to Dismiss
    _______________________________________________________


       1. Federal Claims

              42 U.S.C. § 1985(3) is not intended to serve as a "general federal tort law,"

    Griffin v. Breckenridge, 403 U.S. 88, 102 (1971). It therefore “does not itself create any

    substantive rights but rather merely serves as a vehicle for vindicating some otherwise

    defined federal right, Great Am. Fed. Sav. & Loan Ass'n v. Novotny, 442 U.S. 366, 376

    (1979).

              In order to state a claim for a private conspiracy under the "equal protection"

    clause of § 1985(3), the plaintiff must allege that “the conspiracy was: (1) motivated by a

    class-based invidiously discriminatory animus; and (2) "aimed at interfering with rights



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    that are protected against private, as well as official, encroachment." Bray v. Alexandria

    Women's Health Clinic, 506 U.S. 263, 267-68 (1993); Tilton v. Richardson, 6 F.3d 683,

    686 (10th Cir. 1993).

           The Supreme Court has recognized only two rights that are protected against

    private action under § 1985(3): the right to be free from involuntary servitude and the

    right of interstate travel in the context of the Thirteenth Amendment. Bray, 506 U.S. at

    278; Tilton, 6 F.3d at 686-87.

           Though Plaintiffs Complaint rambles on for 96 pages and includes 347 numbered

    paragraphs it contains no colorable allegation defendant Matt Parrott tried to, or

    conspired to, impair any of the Plaintiff’s rights to travel or to be free of involuntary

    servitude. As such the § 1985 claim must fail.

           Similarly, the 42 USC § 1986 claim must also fail as since Plaintiffs failed to state

    a § 1985 claim than it is not possible for them to pursue a claim based on knowingly

    failing to stop or attempt to stop a legally non-actionable § 1985 conspiracy.

           Accordingly, Counts 1 and 2 of the Plaintiff’s Complaint must be dismissed as

    against defendant Matthew Parrott.

       2. State law claims

                   The Plaintiffs have not stated sufficient factual allegations to sustain either

           state law claims against Mr. Parrott. Parrott is specified in only 11 of Plaintiffs

           347 Complaint paragraphs.

                   In paragraph 32 Mr. Parrott is accused of belonging to the Traditionalist

           Worker’s Party. A different member of that organization is alleged to have made

           favorable comments about Adolph Hitler.




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                  In paragraph 33 Mr. Parrott is alleged to have written an article after the

          rally in question describing what he saw that day.

                  In paragraph 34 Mr. Parrott is mentioned but not accused of doing

          anything other than belonging to the Traditionalist Workers Party.

                  In paragraph 63 Mr. Parrott is accused of taking unspecified actions to

          engage in unspecified “unlawful acts”.

                  In paragraph 71 Mr. Parrott is accused of taking unspecified acts or

          making unspecified statements in order to “incite” unspecified unlawful and

          violent acts.

                  In paragraph 172 Mr. Parrott is accused of unspecified “participation” in

          “violent acts of the day.”

                  In paragraph 185 Mr. Parrott is accused of “marching with” Traditionalist

          Workers Party.

                  In paragraph 194 Mr. Parrott is accused of reporting what he saw happen

          that day. This paragraph specifically does not accuse Mr. Parrott or even the

          organization Traditionalist Workers Party of doing anything other than marching.

                  In paragraph 196 Mr. Parrott is accused of making a statement about what

          he saw or what his group was doing.

                  In paragraph 209 Mr. Parrott is accused of helping other people, walking

          through persons who are not named as plaintiffs in this lawsuit, and then failing to

          obey a police order.




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                  Finally, in paragraph 294 Mr. Parrott is accused of participating in an

          online discussion in an unspecified way in order to “incite” unspecified unlawful

          acts.

                  Allegations    against   Mr.   Parrott’s   organization,   the   “TWP”     or

          Traditionalist Workers Party, are similarly vague and non-specific. The Plaintiffs

          have failed to state, with any specificity whatsoever, what Mr. Parrott, or even the

          organization to which he belongs, did to cause any of their alleged damages.

                  Accordingly, Counts 3 and 5 of the plaintiff’s Complaint must be

          dismissed as against Mr. Parrott.

                  For the reasons stated, all claims against defendant Matthew Parrott must

          be dismissed.



                                                 Respectfully Submitted,


                                                 s/ Elmer Woodard      __________
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                                   CERTIFICATE OF SERVICE

       I hereby certify this Notice and all accompanying documents were served via
       electronic mail on October 26, 2017 upon:

       All parties of record. No party is entitled to or has requested service by other means.

                                                         s/ Elmer Woodard
                                                         ___________________
                                                         E. Woodard (VSB 27734)



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